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               In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                        No. 07-785V
                                    (Not to be published)

*********************************
                                               *
DANIEL THRASHER and KIMBERLY THRASHER          *
Surviving parents and legal representatives of *
a minor child COURTNEY THRASHER, deceased      *
                                               *                      Filed: January 24, 2014
                      Petitioners,             *
                                               *                      Decision by Stipulation;
               v.                              *                      Damages; Influenza (Flu)
                                               *                      Vaccine; Death
SECRETARY OF HEALTH AND                        *
HUMAN SERVICES                                 *
                                               *
                      Respondent.              *
                                               *
*********************************

Ramon Rodriguez, III, Fort Worth, TX, for Petitioner

Glenn A. MacLeod, Washington, DC, for Respondent

                            DECISION AWARDING DAMAGES 1

       On November 8, 2007, petitioners Daniel Thrasher and Kimberly Thrasher, as parents
and legal representatives of the vaccinee Courtney Thrasher, deceased, filed a petition seeking
compensation under the National Vaccine Injury Compensation Program, (Athe Vaccine
Program@). 2 Petitioners alleged that the vaccinee suffered an injury resulting from an influenza


1
   Because this decision contains a reasoned explanation for my action in this case, I will post
this decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as
amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has
14 days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, “the entire” decision will be
available to the public. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
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(“flu”) vaccination she received on November 3, 2005, and that the injury eventually caused the
vaccinee’s death.

        Respondent denies that the vaccinee’s alleged injuries and eventual death were caused by
her receipt of the flu vaccine. Nonetheless, both parties, while maintaining the above positions,
agreed in a stipulation filed January 24, 2014 that the issues before them can be settled and that a
decision should be entered awarding petitioners compensation.

        I have reviewed the file and, based upon that review, I conclude that the parties’
stipulation is reasonable. I therefore adopt the stipulation as the decision of this proceeding in
awarding damages, on the terms set forth therein.

       The stipulation awards:

              a) A lump sum of $2,937.75, which amount represents reimbursement of a lien
                 for services rendered on behalf of Courtney Thrasher, in the form of a check
                 payable jointly to petitioners as Legal Representatives of the Estate of
                 Courtney Thrasher, deceased, and

                       Alabama Medicaid Agency
                       HMS
                       Attention: AL Medicaid Subrogation Unit
                       P.O. Box 166709
                       Irving, TX 75016-6709

                   petitioners agree to endorse this payment to the Alabama Medicaid Agency;
                   and

              b) A lump sum of $100,000.00, in the form of a check payable to petitioners, as
                 Legal Representative of the Estate of Courtney Thrasher, deceased, which
                 amount represents compensation for all other damages that would be available
                 under 42 U.S.C. § 300aa-15(a);


Stipulation ¶ 8.

       I approve a Vaccine Program award to be made to petitioners in the amounts set forth
above. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 3


42 U.S.C.A. ' 300aa-10-' 300aa-34 (West 1991 & Supp. 2002) (“Vaccine Act”). All citations in
this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. ' 300aa.
3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint
notice renouncing their right to seek review.
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IT IS SO ORDERED.
                                      /s/ Brian H. Corcoran
                                         Brian H. Corcoran
                                         Special Master
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